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16
                               UNITED STATES DISTRICT COURT
17
                           NORTHERN DISTRICT OF CALIFORNIA
18
                                    SAN FRANCISCO DIVISION
19

20   URSULA FREITAS, individual, on behalf of       Case No. 3:19-cv-07270-WHA
     herself and others similarly situated,
21                                                  DECLARATION OF ASHISH
                      Plaintiffs,                   PRADHAN IN SUPPORT OF
22                                                  CRICKET WIRELESS, LLC’S
            v.                                      MOTION TO ENFORCE TEXT-
23                                                  MESSAGE AND ELECTRONIC-
     CRICKET WIRELESS, LLC,                         SIGNATURE ARBITRATION
24                                                  AGREEMENTS OF POTENTIAL
                      Defendant.                    CLASS MEMEBERS
25
                                                    Date: February 24, 2022
26                                                  Time: 8:00 am.
                                                    Location: Courtroom 12, 19th Floor
27                                                  Judge: Hon. William H. Alsup

28                                                  Complaint Filed: November 4, 2019


                                                            DECLARATION OF ASHISH PRADHAN,
                                                                  CASE NO. 3:19-CV-07270-WHA
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 1

 2   I, Ashish Pradhan, declare as follows:
 3
              1.    I have personal knowledge of the following facts, and if called as a witness I could
 4
     and would testify competently as to their truth.
 5
              2.    I am a Vice President at Cornerstone Research.
 6

 7            3.    I directed personnel employed by Cornerstone Research to compile the various

 8   lists of potential class members from Exhibits A, B, C, E, and F to the Declaration of Gary W.

 9   Braxton and Exhibit B to the Declaration of Joy Ledyard into a single spreadsheet. That
10
     spreadsheet is attached as Exhibit A.
11
              4.    The first five columns contain the customer ID, customer first name, last name,
12
     state, and account number for the 486,808 customer IDs in the Exhibits identified in paragraph 3
13
     above.
14

15            5.    The sixth column is titled “Received a legacy Cricket Quick Start Guide? (Braxton

16   Decl. Ex. A).” If this potential class member is listed in Exhibit A to the Braxton Declaration, I
17   placed a “Y” in the entry under this column for that potential class member.
18
              6.    The seventh column is titled “Received a New Cricket Terms & Conditions
19
     booklet? (Braxton Decl. Ex. B).” If this potential class member is listed in Exhibit B to the
20
     Braxton Declaration, I placed a “Y” in the entry under this column for that potential class
21
     member.
22

23            7.    The eighth column is titled “Had service on 5/22/14 and paid for service

24   thereafter? (Braxton Decl. Ex. C).” If this potential class member is listed in Exhibit C to the
25   Braxton Declaration, I placed a “Y” in the entry under this column for that potential class
26
     member.
27

28
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                                                                    DECLARATION OF ASHISH PRADHAN,
                                                                          CASE NO. 3:19-CV-07270-WHA
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 1          8.      The ninth column is titled “Online purchase with electronic signature? (Braxton
 2   Decl. Ex. E).” If this potential class member is listed in Exhibit E to the Braxton Declaration, I
 3
     placed a “Y” in the entry under this column for that potential class member.
 4
            9.      The tenth column is titled “In-store purchase with electronic signature? (Braxton
 5
     Decl. Ex. F).” If this potential class member is listed in Exhibit F to the Braxton Declaration, I
 6

 7   placed a “Y” in the entry under this column for that potential class member.

 8          10.     The eleventh column is titled “Signature capture found? (Ledyard Decl. Ex. B).” If

 9   this potential class member is listed in Exhibit B to the Ledyard Declaration, I placed a “Y” in the
10
     entry under this column for that potential class member.
11
            I declare under penalty of perjury of the laws of the United States that the foregoing is true
12
     and correct.
13
            Executed at Los Angeles, California on January 7, 2022.
14

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17

18                                                 Ashish Pradhan
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                                                     -3-
                                                                    DECLARATION OF ASHISH PRADHAN,
                                                                          CASE NO. 3:19-CV-07270-WHA
